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              EXHIBIT A
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             3M Registration Form – Spouse Signature Guide
As part of the 3M Earplugs Settlement, claimants are required to complete and submit a Registration
Form.

While completing the Registration Form, a claimant is asked to respond to questions regarding the
Eligible Claimant’s Spouse.

The purpose of this guide is to help explain these questions and assist with common mistakes
associated with them.

 Section 1.A - Question 8

 Question:           Was there a lawsuit filed on behalf of the claimant’s spouse?

 Explanation:        If the spouse was included in the Complaint or if a Loss of Consortium claim
                     was considered, this field should be marked as “Yes.”




 Section 1.A - Question 8.a.

 Question:           Spouse Name

 Explanation:        This is the space provided for the name of the Spouse of the Eligible Claimant
                     and should be prepopulated.
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Section 7 – Certification and Signature

Explanation        If “Yes” is selected for question 8 in Section 1.A (referenced above), an
                   additional signature from the spouse of the Eligible Claimant will be required.
                   For the purposes of this section, and in the interest of clarity, this is the
                   signature of the same spouse referenced in response to Section 1.A - Question
                   8.a..

                               The Eligible Claimant should NOT sign a second time.

                                          ONLY THE SPOUSE SHOULD SIGN.
